                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

SHAMIM EBRAHIMI,                                 §
et al.                                           §
                                                 §
                                                 §
vs.                                              §         CIVIL ACTION NO. 3:23-CV-00273
                                                 §
                                                 §
MYKILL FIELDS,                                   §
et al.                                           §

                               SUMMONS IN A CIVIL ACTION


      A lawsuit has been filed against you.

      Within 21 days after service of this summons on you (not counting the day you received it)—
or 60 days if you are the United States or a United States agency, or an officer or employee of the
United States described in Fed. R. Civ. P. 12 (a)(2) or (3)—you must serve on the Plaintiff an
answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil
Procedure. The answer or motion must be served on the Plaintiff or Plaintiff’s attorney, whose
name and address is:
                                    SHAMIM EBRAHIMI
                                5335 Bent Tree Forest Dr., #271
                                       Dallas, TX 75248
                                      469) 536-9597 / O
                                      (469) 962-2219 / F
                                   SE.LPSE29@gmail.com

      If you fail to respond, judgment by default will be entered against you for the relief demanded
in the complaint. You also must file your answer or motion with the court.


DATE: 03/11/2023




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